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                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

   In re:                                            §
                                                     §        Case No. 23-10164-smr
   ASTRALABS, INC.,                                  §
                                                     §        Chapter 7
             Debtor.                                 §

                               TRUSTEE’S WITNESS AND EXHIBIT
                             LIST FOR NOVEMBER 21, 2023 HEARING

  TO THE HONORABLE SHAD M. ROBINSON, U.S. BANKRUPTCY JUDGE, AND TO ALL
  PARTIES:

            Randolph N. Osherow, not individually but in his capacity as the duly appointed chapter 7

  trustee (in such capacity, the “Trustee”), for and on behalf of ASTRALABS, Inc. (the “Debtor”),

  hereby submits this Witness and Exhibit List in connection with the hearing to be held on

  November 21, 2023, at 10:00 a.m. (prevailing Central Time) (the “Hearing”), to consider

  Trustee’s Motion to Assume Engagement Agreement with Dellenbach Venture Counsel Ltd.

  [Docket No. 330] and any other matters taken up by the Court at the Hearing.

                                                WITNESSES

            The Trustee reserves all rights to call any or all of the following as witnesses at the Hearing,

  including but not limited to by affidavit, declaration, or proffer.

            1.      Randolph N. Osherow, in his capacity as the Trustee;

            2.      Robert D. Dellenbach, founder, Dellenbach Venture Counsel Ltd.;

            3.      any witness called or designated by any other party; and

            4.      any rebuttal witnesses, as appropriate.

                                                 EXHIBITS

            The Trustee reserves all rights to introduce and/or request judicial notice of any or all of

  the following Exhibits as evidence at the Hearing, each as may be amended, and expressly



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  including any filed responses thereto, and any exhibits, schedules, addenda, and any and all other

  attachments or amendments thereto and thereof:




                                                                                 MARKED

                                                                                          OFFERED

                                                                                                    OBJECT

                                                                                                             ADMIT
   No.    Description



    A.    Debtor’s Amended Conversion Schedules [Docket No. 318]

    B.    Engagement Agreement, dated April 29, 2022 [Docket No. 330-1]

    C.    Declaration of Robert B. Dellenbach

          E-mail from R. Dellenbach to J. Ong, A. Nguyen. R. Osherow re:
    D.
          Debtor’s equity holder and account records (August 18, 2023)

          Any and all Motions, Notices, pleadings, and other docket items
    E.
          filed of record in the Bankruptcy Case

    F.    Any and all exhibits designated by any other party

          Any and all other exhibits as may be appropriate for rebuttal or
    G.
          impeachment purposes

  Dated: November 16, 2023                             Respectfully submitted,

                                                       By: /s/ Jay H. Ong
                                                         Jay H. Ong
                                                         Texas Bar No. 24028756
                                                         Thanhan Nguyen
                                                         Texas Bar No. 24118479
                                                         MUNSCH HARDT KOPF & HARR, P.C.
                                                         1717 West 6th Street, Suite 250
                                                         Austin, Texas 78703
                                                         Telephone: (512) 391-6100
                                                         Facsimile: (512) 391-6149
                                                         Email:       jong@munsch.com
                                                                      anguyen@munsch.com

                                                       Counsel For Randolph N. Osherow,
                                                       Chapter 7 Trustee




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                                      CERTIFICATE OF SERVICE

          The undersigned hereby certifies that, on the 16th day of November 2023, he personally
  caused true and correct copies of the foregoing document to be served by electronically filing it
  with the Court using the Court’s CM/ECF system, which sent notification to the parties receiving
  same through such system. A true and correct copy of the document, together with the listed
  exhibits, was also served via electronic mail on the following parties:

         Robert Chamless Lane on behalf of Debtor ASTRALABS Inc
         chip.lane@lanelaw.com

         Ron Satija on behalf of Andrew Ryan
         rsatija@haywardfirm.com

         Shane P. Tobin on behalf of U.S. Trustee United States Trustee - AU12
         shane.p.tobin@usdoj.gov

                                                      By: /s/ Thanhan Nguyen
                                                             Thanhan Nguyen, Esq.




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